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  AflOkNEVSUOR:   Plaintiff
                                                 UNITED STATES DISTRICT COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
 UNiTE HERE,                                                                       cseNuMInia




                                                                     PIainff(s),     SA Cvi            3oaa)
 FOOD & DRUG ADMINISTRATION                                                                     CERTIFICATION ANI) NOTiCE
                                                                                                  OF INTERESTED PARTIES
                                                                   Defendnnt(s)                        (Local Rule 7.1-I)

 TO:       THE COURT AND ALL PARTIES APPEARiNG OF RECORD:

 The undersigned, counsel of record for UNITE HERE
 (or party appearing in pro per), certifies that the following listed party (or parties) may have a direct, pecuniary
 interest in the outcome of this case. These representations are made to enable the Court to evaluate possible
 disqualification or recusal. (Use additional sheet if necessary.)

                                   PARTY                                                                  CONNECTION
                                    (List the names of all such parties and identify their connection and interest.)
 Food & Drug Administration                                                        Plaintiff

  Department of Hcaith and Human Services                                          Parent agency of FDA

 St. Jude Medical, Inc.                                                            Owns facility covered by FDA inspection report requested by
                                                                                   Plaintiff.




           Date                                                   Sign


                                                                  Andrew J. Kahn
                                                                 Attorney of record for or party appearing in pro per



 CV.30 t04110)                                                NOTICE OI INTERESTED PARTIES
